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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
                                             §
versus                                       §     CRIMINAL NO. H-09-029-12
                                             §
                                             §
FRANCISCO ANDRADE                            §


                                        ORDER

         The defendant filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 458). The motion for continuance is GRANTED. The sentencing hearing

is reset to May 19, 2011 at 3:00 p.m.

               SIGNED on April 19, 2011, at Houston, Texas.

                                            ______________________________________
                                                       Lee H. Rosenthal
                                                  United States District Judge
